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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )
                                              )                     8:10CR158
       vs.                                    )
                                              )                       ORDER
CESAR LOMELI,                                 )
                                              )
                      Defendant.              )


      This matter is before the court on the defendant's Unopposed Motion for Extension
of Time For Filing Pretrial Motions [87]. Upon review of the file, the court finds that an
approximate 14-day extension should be granted.

      IT IS ORDERED that the Unopposed Motion for Extension of Time For Filing Pretrial
Motions [87] is granted, in part, as follows:

       1.    The deadline for filing pretrial motions is extended to June 24, 2010.

       2.    Defendant is ordered to file a waiver of speedy trial as soon as practicable.

        3. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and
the defendant in a speedy trial. Any additional time arising as a result of the granting of this
motion, that is, the time between June 10, 2010 and June 24, 2010, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason that counsel require additional time to adequately prepare the case, taking
into consideration due diligence of counsel and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B)(iv).

       DATED this 11th day of April, 2010.

                                            BY THE COURT:

                                            s/ F.A. Gossett
                                            United States Magistrate Judge
